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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

Courtney Webster and                                  )
Brian Webster,                                        )
                                                      )
                            Plaintiffs,               )
                                                      ) Cause No. 1:16-cv-02677
       v.                                             )
                                                      )
Center for Diagnostic Imaging, Inc., d/b/a CDI, d/b/a )
CDI Indianapolis, and CDI Indiana, LLC, d/b/a CDI, )
d/b/a CDI Indianapolis,                               )
                                                      )
                            Defendants.               )



                   COMPLAINT FOR DAMAGES AND JURY DEMAND

       The plaintiffs, Courtney Webster and Brian Webster, by counsel, for their complaint for

damages and jury demand against the defendants, Center for Diagnostic Imaging, Inc., d/b/a

CDI, d/b/a CDI Indianapolis (“CDI”), and CDI Indiana, LLC, d/b/a CDI, d/b/a CDI Indianapolis

(“CDI Indiana”) allege and say that:

       1.      At all relevant times Courtney Webster and Brian Webster were lawfully married.

       2.      Courtney Webster and Brian Webster are citizens of the State of Indiana and

residents of the Southern District of Indiana, Indianapolis Division.

       3.       CDI is a Minnesota corporation with its principal place of business in St. Louis

Park, Minnesota. Accordingly, CDI is deemed a citizen of Minnesota.

       4.      CDI Indiana is a Minnesota limited liability company. According to information

obtained from the website of the Indiana Secretary of State, the members of CDI Indiana are

Ryan Raschke, Henri Minette, and Richard Long, all of whom are citizens of Minnesota.
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          5.    The matter in controversy exceeds, exclusive of interest and costs, the sum

specified by 28 U.S.C. § 1332.

          6.    CDI and CDI Indiana operate diagnostic imaging centers throughout the state of

Indiana, including one at 11900 N. Pennsylvania St. in Carmel, Indiana.

          7.    On or about November 17, 2014, Courtney Webster underwent a CT scan at CDI

and CDI Indiana’s imaging center at 11900 N. Pennsylvania St. in Carmel, Indiana. One of the

primary purposes of this CT scan was to ascertain whether Courtney Webster had recurrent rectal

cancer.

          8.    An agent and/or employee of CDI and CDI Indiana, acting within the course and

scope of his duties, read Courtney Webster’s CT scan.

          9.    In reading Courtney Webster’s CT images, the agent/employee of CDI and CDI

Indiana failed to identify and report a rectal tumor which was present on the images.

          10.   CDI and CDI Indiana’s failure to identify and report Courtney Webster’s rectal

tumor was negligent.

          11.   Because of CDI and CDI Indiana’s negligence in failing to identify and report

Courtney Webster’s rectal tumor, the tumor went undetected and untreated until May of 2016.

          12.   As a direct and proximate result of CDI and CDI Indiana’s substandard care,

Courtney Webster’s rectal cancer grew and spread, significantly reducing her chances of

surviving the disease, significantly altering her treatment options, and causing her severe pain,

suffering and emotional distress.

          13.   In an attempt to treat her injuries, Courtney Webster has been required to engage

the services of other medical professionals and has incurred medical expenses.




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                                      JURY DEMAND

        Plaintiffs, Courtney Webster and Brian Webster, by counsel, hereby demands a trial by

jury on all issues so triable.

                                                  Respectfully submitted,



                                                  /s/ Kathleen A. DeLaney______________
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                                                  and

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